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                        IN T H E UNITED STATES D I S T R I C T C O U R T
                        F O R T H E NORTHERN D I S T R I C T OF T E X A S
                                      D A L L A S DIVISION

R O B E R T O P. M A R T I N E Z              §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §
                                                             No.
                                              §
STATE F A R M LLOYDS,                         §
                                              §                 J U R Y DEMAND
       Defendant.                             §
                                              §
                                              §

             DEFENDANT S T A T E F A R M L L O Y D S ' N O T I C E OF R E M O V A L

TO THE HONORABLE COURT:

       Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defnedant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Dallas Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                     I.
                          F A C T U A L AND P R O C E D U R A L BACKGROUND

        1.      On January 13, 2015, Plaintiff Roberto P. Martinez filed his Original Petition in

the matter styled Roberto P. Martinez v. State Farm Lloyds, Cause No. DC-15-00367 in the 44th

District Court in and for Dallas County, Texas. The lawsuit arises out of a claim Plaintiff made

for damages to his home under a homeowner's insurance policy with State Farm Lloyds.

       2.       Plaintiff served State Farm with a copy of the Original Petition on or about

January 22, 2015.




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        3.        State Farm files this notice of removal within 30 days of receiving Plaintiffs

pleading. See 28 U.S.C. §1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

        4.        A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).         A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff.

        5.        As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents, a copy of the Docket Sheet is attached as Exhibit " B , " a copy

of Plaintiffs' Original Petition is attached as Exhibit "C," a copy of the request for and Citation

issued on State Farm Lloyds is attached as Exhibit "D," a copy of the Jury Demand is attached as

Exhibit "E," a copy of the Citation to State Farm Lloyds returned served is attached as Exhibit

"F," a duplicate copy of the Citation to State Farm Lloyds returned served is attached as Exhibit

"G," a copy of State Farm Lloyds' Original Answers is attached as Exhibit " H , " and the Civil

Case Information Sheet is attached as Exhibit " I . " A Certificate of Interested Persons is attached

as Exhibit "J."

       6.         Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Dallas County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                 II.

                                     BASIS F O R R E M O V A L

       7.         Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.

A.     The Proper Parties Are Of Diverse Citizenship
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           8.    Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas. See Pi's Original Pet., Exhibit C, 13.

           9.    Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm        Lloyd's,

1998 W L 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

           10.   Because Plaintiff is a citizen of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the proper

parties.

B.         The Amount in Controversy Exceeds $75,000.00

           11.   This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiffs seek monetary relief over $100,000 but not

more than $200,000." See Exhibit C, f 70.       Thus, the express allegations in the Petition exceed

the amount in controversy threshold of $75,000.00.




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                                    Conclusion and Prayer

       A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441. Accordingly,

Defendant State Farm Lloyds hereby removes this case to this Court for trial and determination.


                                             Respectfully submitted,

                                            /s/ Rhonda J. Thompson
                                            Rhonda J. Thompson
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                                            C O U N S E L F O R DEFENDANT S T A T E F A R M
                                            LLOYDS




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 12, 2015 a true and correct copy of the foregoing has
been forwarded to counsel of record in accordance with the applicable Rules of Civil Procedure:

Via Email and Certified Mail, RRR:
Scott G. Hunziker
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                                            Rhonda J. Thompson
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